                                   STATEMENT OF FACTS

        Your affiant, Michael Kiley, is a Special Agent assigned to the Federal Bureau of
Investigation, Joint Terrorism Task Force (“JTTF”). In my duties as a Special Agent, I am
assigned to a National Security Squad to investigate acts of domestic terrorism under state and
federal law. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.
       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint
session of the United States Congress was effectively suspended until shortly after 8:00 p.m.
Vice President Pence remained in the United States Capitol from the time he was evacuated from
the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol
building without authority to be there.

       Scott Ray CHRISTENSEN, was identified as an individual who entered the U.S. Capitol
for over an hour, until removed by law enforcement.

       Holly Dionne CHRISTENSEN, was identified as an individual who entered the U.S.
Capitol for over an hour, until removed by law enforcement.

        Scott and Holly CHRISTENSEN moved throughout the U.S. Capitol building, including
the area of the Rotunda Doors, the Rotunda, the Memorial doors, a second-floor hallway on the
Senate side of the building, and a remote hallway on the fourth floor of the building (an area few,
if any, others breached). Scott CHRISTENSEN utilized a radio/walkie-talkie style device.

       Through open-source research, both Scott and Holly CHRISTENSEN were identified at
the Stop the Steal Rally on the morning of January 6, 2021, at the Ellipse. Both
CHRISTENSENs were identified in videos on Parler. 1

        IMAGES 1 and 2 below are screenshot photographs of Scott and Holly CHRISTENSEN
from the Parler videos. IMAGE 1 depicts Holly CHRISTENSEN outlined in red at 00:24 into
the video as part of the crowd at the Stop the Steal rally. Holly CHRISTENSEN can be seen
wearing a red and white Trump 45 hat. IMAGE 2 depicts Scott CHRISTENSEN outlined in red
at 00:12 into the video as part of the crowd at the Stop the Steal rally. Scott CHRISTENSEN can
be seen wearing black framed glasses and a black Adidas hat.




       1
         Holly CHRISTENSEN can be found in the following link:
https://web.archive.org/web/submit?url=https://video.parler.com/3g/AB/3gAB6v4OZNJx.mp4
        Scott CHRISTENSEN can be found in the following link:
https://web.archive.org/web/submit?url=https://video.parler.com/4r/s1/4rs13Yn21R1c.mp4
                                        IMAGE 1




                                        IMAGE 2

        The CHRISTENSENs are also seen marching towards the U.S. Capitol on an open-
source video entitled “January 6, 2021 Washington, D.C. Protest to Stop The Steal”
https://www.youtube.com/watch?v=DpqrQ1b_Fm8&t=1189

        IMAGES 3 and 4 are screenshot photographs of Scott and Holly CHRISTENSEN from
this video. IMAGE 3 depicts Holly CHRISTENSEN outlined in red at 19:48 into the video as
part of the crowd marching to the U.S. Capitol. Holly CHRISTENSEN can be seen wearing a
red and white Trump 45 hat; red, white, and blue pattern scarf; and brown coat. IMAGE 4
depicts Scott CHRISTENSEN outlined in red at 19:50 into the video as part of the crowd
marching to the U.S. Capitol. Scott CHRISTENSEN can be seen wearing a blue jacket; blue
cowboy hat, with white stars; and carrying a blue, Trump 2020 Keep America Great flag.




                            IMAGE 3                                    IMAGE 4

        The CHRISTENSENs are also seen on open-source video, entitled “Capitol Riots Raw
Footage _ ***Journalistic Purposes Only***” in which they are visible on the grounds of the
U.S. Capitol, just outside of the Capitol building.
https://www.youtube.com/watch?v=f80ScBHnNRk&t=901s&ab_channel=Nigrotime

IMAGES 5, 6, 7, and 8 are screenshot photographs of Scott and Holly CHRISTENSEN from
this video. IMAGE 5 depicts Scott CHRISTENSEN outlined in red at 14:53 into the video
standing outside of the U.S. Capitol. IMAGES 6, 7, and 8 depict Scott and Holly
CHRISTENSEN outlined in red at 14:55, 15:00, and 15:02 into the video, recording protestors
and police on a mobile phone. Scott CHRISTENSEN can be seen wearing a red, white, and blue
Team USA soccer scarf and carrying a white pole. Holly CHRISTENSEN can be seen holding a
white iPhone in an orange and yellow case.
IMAGE 5




IMAGE 6
IMAGE 7




IMAGE 8
        The CHRISTENSENs are also seen on open-source, Parler video, just outside of the U.S.
Capitol building.
https://web.archive.org/web/submit?url=https://video.parler.com/qH/JI/qHJIxRcDpqTN.mp4

IMAGE 9 is a screenshot photograph of Scott and Holly CHRISTENSEN from the Parler video.
IMAGE 9 depicts Scott and Holly CHRISTENSEN outlined in red at 00:15 into the video
standing outside of the U.S. Capitol.




                                         IMAGE 9
       The CHRISTENSENs are also seen on an open-source, Telegram video on the U.S.
Capitol inside of the U.S. Capitol Rotunda. https://archive.org/details/YXb7jbm5LTzs4tzyv

        IMAGE 10 is a screenshot photograph of Scott and Holly CHRISTENSEN from the
Telegram video. IMAGE 10 depicts Scott and Holly CHRISTENSEN outlined in red at 00:14
into the video standing inside the U.S. Capitol Rotunda recording on a mobile device. Scott
CHRISTENSEN can be seen wearing a red, Team USA soccer jersey and holding a black mobile
device.




                                          IMAGE 10

      The CHRISTENSENs are seen on another open-source video inside of the U.S. Capitol
Rotunda in an archive video found at https://archive.org/details/capital-hill-occupy-ovfr-18

       IMAGES 11 and 12 are screenshot photographs of Scott and Holly CHRISTENSEN
from the archive video. IMAGE 11 depicts Scott and Holly CHRISTENSEN outlined in red at
05:09 into the video, standing inside the U.S. Capitol Rotunda as Scott CHRISTENSEN walks
away from Holly Christensen and joins the crowd pushing against the police line in the Rotunda.
IMAGE 12 depicts Scott CHRISTENSEN outlined in red at 16:04 into the video, exiting the
U.S. Capitol Rotunda after being involved in a skirmish along the police line in which his
belongings fell on the floor, his glasses are removed, and his hat was pushed to the side.
IMAGE 11




IMAGE 12
        The CHRISTENSENS are seen on a MSNBC video, entitled “Flash Grenades, Tear Gas
Deployed On Exterior Capitol Balcony | MSNBC” just outside of the U.S. Capitol building.
https://www.youtube.com/watch?app=desktop&v=IWXic_soQhU&ab_channel=MSNBC

        IMAGE 13 is a screenshot photograph of Scott and Holly CHRISTENSEN from the
MSNBC video. IMAGE 13 depicts Scott and Holly CHRISTENSEN outlined in red at 00:50
into the video standing outside of the U.S. Capitol approximately one hour and 32 minutes after
they were observed exiting the U.S. Capitol.




                                          IMAGE 13

       The CHRISTENSENs were identified throughout the U.S. Capitol, on several CCTV
videos and police body worn camera footage.

        IMAGE 14 is a screenshot photograph of Scott and Holly CHRISTENSEN. IMAGE 14
depicts Scott and Holly CHRISTENSEN outlined at 2:43:17 PM, standing inside of the U.S.
Capitol Rotunda Lobby East Stairs.
                                       IMAGE 14

        IMAGE 15 is a screenshot photograph of Scott and Holly CHRISTENSEN. IMAGE 15
depicts Scott and Holly CHRISTENSEN outlined in red at 2:43:21PM, standing inside of the
U.S. Capitol Rotunda Door Interior. Scott CHRISTENSEN can be seen with a blue, cowboy hat,
with white stars hanging from his black backpack or beltline.




                                       IMAGE 15
       IMAGE 16 below is a screenshot photograph of Scott and Holly CHRISTENSEN from
Capitol surveillance. IMAGE 16 depicts Scott and Holly CHRISTENSEN outlined in red at
2:43:21PM, standing inside of the U.S. Capitol Rotunda Door Interior.




                                      IMAGE 16

        IMAGE 17 is a screenshot photograph of Scott and Holly CHRISTENSEN. IMAGE 17
depicts Scott and Holly CHRISTENSEN outlined in red at 2:43:57PM, standing inside of the
U.S. Capitol Rotunda.




                                      IMAGE 17
        IMAGE 18 is a screenshot photograph of Scott and Holly CHRISTENSEN. IMAGE 18
depicts Scott and Holly CHRISTENSEN outlined in red at 2:47:25PM, standing inside of the
U.S. Capitol Rotunda. Scott CHRISTENSEN appears to use his phone to take photos and/or
video inside the Rotunda.




                                         IMAGE 18

       IMAGE 19 below is a screenshot photograph of Scott and Holly CHRISTENSEN.
IMAGE 19 depicts Scott and Holly CHRISTENSEN outlined in red at approximately
2:48:12PM, standing inside of the U.S. Capitol Rotunda. Both appear to be taking photos and/or
video on their mobile devices.
                                         IMAGE 19

       IMAGE 20 below is a screenshot photograph of Scott and Holly CHRISTENSEN.
IMAGE 20 depicts Scott and Holly CHRISTENSEN outlined in red entering an elevator on the
second floor on the Senate side of the building.




                                         IMAGE 20

        IMAGE 21 below is a screenshot photograph of Scott CHRISTENSEN. IMAGE 21
depicts Scott CHRISTENSEN outlined in red at approximately 2:52:42PM on the fourth floor of
the Senate side of the U.S. Capitol holding a dark colored handheld radio/walkie-talkie device
and a blue, cowboy hat, with white stars hanging from his waistline.
                                        IMAGE 21

        IMAGE 22 below is a screenshot photograph of Scott CHRISTENSEN. IMAGE 22
depicts Scott CHRISTENSEN circled in red at 2:58:25PM, exiting a room on the fourth floor of
the Senate side of the U.S. Capitol.




                                        IMAGE 22
        IMAGE 23 below is a screenshot photograph of Scott and Holly CHRISTENSEN.
IMAGE 23 depicts Scott and Holly CHRISTENSEN at approximately 2:59:25PM, on the fourth
floor of the Senate side of the U.S. Capitol.




                                         IMAGE 23

        IMAGE 24 is a screenshot photograph of Scott and Holly CHRISTENSEN. IMAGE 24
depicts Scott and Holly CHRISTENSEN outlined in red exiting the elevator banks on the second
floor of the Senate side of the U.S. Capitol eight minutes after they were on the fourth floor.




                                         IMAGE 24
        IMAGE 25 is a screenshot photograph of Scott and Holly CHRISTENSEN. IMAGE 25
depicts Scott and Holly CHRISTENSEN outlined in red at approximately 3:00:41PM, back
inside the U.S. Capitol Rotunda.




                                        IMAGE 25

       IMAGE 26 is a screenshot photograph of Scott CHRISTENSEN. IMAGE 26 depicts
Scott CHRISTENSEN outlined in red at approximately 3:12:20PM, inside of the U.S. Capitol
Rotunda Door Interior, in the northwest corner, where he stays for several minutes.
                                       IMAGE 26

        IMAGE 27 below is a screenshot photograph of Holly CHRISTENSEN. IMAGE 27
depicts Holly CHRISTENSEN outlined in red at approximately 3:19:52PM, standing inside of
the U.S. Capitol Rotunda with a Police Officer.




                                       IMAGE 27

        IMAGE 28 is a screenshot photograph of Scott CHRISTENSEN from video captured by
Metropolitan Police Department (“MPD”) body camera footage. This video depicted the crowd
of individuals and officers in the U.S. Capitol Rotunda. At approximately 3:08:19PM, Scott
CHRISTENSEN is observed wearing a black baseball cap, a red fitted shirt with “USA” and a
Nike emblem with a red fitted long sleeve underneath, and a red patterned scarf. Scott
CHRISTENSEN had a backpack and was carrying a white stick which appeared to have a flag.
CHRISTENSEN appeared again on the same video at approximately 3:09:10PM in which he
began to speak with some officers. He stated, among other things, “Which amendment are you
protecting right now?” before going in and out of screen.




                                        IMAGE 28

       IMAGE 29 is a screenshot photograph of Scott CHRISTENSEN from video captured by
MPD body camera, which showed Scott CHRISTENSEN in the U.S. Capitol Rotunda. At
approximately 3:10:08PM, CHRISTENSEN was talking to the officer who was wearing the
body cam. He stated to the officer “Dude I'm from Seattle, we invented this stuff. You guys
needs to call the Puyallup...Seattle Police Department.” After this interaction, Scott
CHRISTENSEN disappeared from the screen into the crowd.
                                         IMAGE 29

        IMAGE 30 is a screenshot photograph of Scott CHRISTENSEN from video captured by
MPD body worn camera. At approximately 3:20:50PM Scott CHRISTENSEN was holding and
communicating on a black handheld radio/walkie-talkie inside of the U.S. Capitol Rotunda Door
Interior. Scott CHRISTENSEN stated in response to an officer, “They got it all closed down
dude,” while the officer continued to communicate to him and others. Scott CHRISTENSEN
continued, “Does it look like I'm going to cause any problems.” The officer responded, “Other
side of this... (indistinguishable words).” Scott CHRISTENSEN stated to the officer, “Hey you
served in the military?...I didn't serve, you served.” He continued to state after an unclear
response from the officer “... in Iraq, what's worse right now? What's worse Saddam or what's
happening?” After this statement, there was a commotion which ended with Scott
CHRISTENSEN on the ground and yelling, “My hip, My hip!” Scott CHRISTENSEN was
removed from the area by other officers. He appears briefly standing towards the exit of the
Rotunda at approximately 3:26:33PM.
                                       IMAGE 30

     IMAGE 31 below is a screenshot photograph of the handheld radio/walkie-talkie Scott
CHRISTENSEN used from video captured by MPD body camera.




                                       IMAGE 31
        IMAGE 32 below is a screenshot photograph of Holly CHRISTENSEN. IMAGE 32
depicts Holly CHRISTENSEN outlined in red at 3:21:19PM, being escorted out of the U.S.
Capitol Rotunda by a Police Officer.




                                       IMAGE 32

        IMAGE 33 below is a screenshot photograph of Holly CHRISTENSEN. IMAGE 33
depicts Holly CHRISTENSEN outlined in red at 3:21:57PM, being escorted out of the U.S.
Capitol by Police Officers.
                                      IMAGE 33

       IMAGE 34 is a screenshot photograph of Holly CHRISTENSEN. IMAGE 34 depicts
Holly CHRISTENSEN outlined in red at 3:22:07PM, exiting the Memorial Door of the U.S.
Capitol.
                                        IMAGE 34

       IMAGE 35 is a screenshot photograph of Scott CHRISTENSEN. IMAGE 35 depicts
Scott CHRISTENSEN circled in red at 3:32:15PM, exiting the East Rotunda Door of the U.S.
Capitol.




                                        IMAGE 35
       IMAGE 36 is a screenshot photograph of Scott and Holly CHRISTENSEN from Holly
CHRISTENSEN’s Facebook profile, dated October 23, 2021. In the comments of this photo,
approximately 13 weeks after the posted date, S****** G***** 2 asks, “Are you in Florida yet
smiley face emoji with sunglasses, umbrella emoji, hearts emoji.” Holly CHRISTENSEN
responds approximately 13 weeks after the posted date, “S****** G***** not quite! Got
another week smiley face emoji.”




                                                         IMAGE 36



         On September 23, 2021, your affiant and Special Agent Marty Trevino met with Witness
1 at a realty office in Puyallup, Washington. Witness 1 advised that s/he knew Scott
CHRISTENSEN for 10 years. Witness 1 advised that s/he was Scott CHRISTENSEN’s
supervisor at a place of employment. Witness 1 confirmed that Scott CHRISTENSEN traveled
to Washington, D.C. to attend the Stop the Steal rally, but had no knowledge of Scott
CHRISTENSEN entering the U.S. Capitol. Your affiant showed Witness 1 Scott
CHRISTENSEN’s DMV photo. Witness 1 positively identified the male in the photo as Scott
CHRISTENSEN. Witness 1 was then shown three screenshot photographs of Scott Christensen

2
    This individual’s full name is known but redacted.
inside of the U.S. Capitol. Witness 1 reviewed the photographs and positively identified the
male in the photographs as Scott CHRISTENSEN. Image 23, believed to be Scott
CHRISTENSEN and his wife Holly CHRISTENSEN, was shown to Witness 1, who was unable
to positively identify the female in the photograph as Holly CHRISTENSEN and stated that the
female could have Scott CHRISTENSEN’s daughter.

        On January 28, 2022, your affiant and Special Agent Kathryn Hamstra met with Witness
1 a second time, again in Puyallup, WA. Witness 1 advised that s/he knew Holly
CHRISTENSEN since 2015, when Holly worked at that business in Puyallup. Your affiant
showed Witness 1 IMAGE 36. Witness 1 positively identified the male in the photo as Scott
CHRISTENSEN and the female in the photo as Scott CHRISTENSEN’s wife. Witness 1 was
unable to remember Holly CHRISTENSEN’s first name. Witness 1 was then shown IMAGE 1.
Witness 1 could not identify the woman in the red square but did recognize the male with the
black hat and black glasses as Scott CHRISTENSEN, stating that it was clearly his profile.
Witness 1 was then shown IMAGE 2, Witness 1 identified the male in the red square as Scott
CHRISTENSEN. Witness 1 identified both Scott and Holly CHRISTENSEN in IMAGE 7 and
IMAGE 8, noting that s/he was able to identify Holly CHRISTENSEN in IMAGE 8 due to her
distinctive hair. Witness 1 identified Scott CHRISTENSEN in IMAGE 12. Witness 1 then
identified both Scott and Holly CHRISTENSEN in IMAGE 13. Witness 1 then identified Scott
Christensen in IMAGE 29 and IMAGE 30. Witness 1 stated that the images made him/her sad.

        According to records obtained through legal process served on AT&T, cellphones
associated with (XXX) XXX-2454 and (XXX) XXX-2704 (“the devices”) were identified as
having utilized a cell site consistent with providing service to a geographic area that included the
interior of the United States Capitol building, on January 6, 2021, from 2:43 EST to 3:51 EST.
AT&T records confirm that both devices belong to Scott CHRISTENSEN of Puyallup,
Washington.

       Based on the foregoing, your affiant submits that there is probable cause to believe that
Scott CHRISTENSEN and Holly CHRISTENSEN, violated 18 U.S.C. § 1752(a)(1) and (2),
which makes it a crime to (1) knowingly enter or remain in any restricted building or grounds
without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt the
orderly conduct of Government business or official functions, engage in disorderly or disruptive
conduct in, or within such proximity to, any restricted building or grounds when, or so that, such
conduct, in fact, impedes or disrupts the orderly conduct of Government business or official
functions.

      Your affiant submits there is also probable cause to believe that Scott CHRISTENSEN
and Holly CHRISTENSEN 40 U.S.C. § 5104(e)(2) which makes it a crime to willfully and
knowingly; (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or
the orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.


                                                         _________________________________
                                                         Michael Kiley FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 28th day of November 2022.
                     Digitally signed by Zia M.
                     Faruqui
                     Date: 2022.11.28 17:48:21 -05'00'
___________________________________
ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE
